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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

         v.
                                                       Cr. No. 19-10080-NMG
 GREGORY COLBURN, et al.,

         Defendants.

                    DEFENDANT JOHN WILSON’S MOTION FOR
              TRIAL MANAGEMENT AND TO RECONSIDER SEVERANCE
       During the June 15, 2021 status conference, it became apparent that the Government’s

calculation of the length of the September 2021 trial is not realistic. The Government’s case in

chief, including defendants’ cross-examinations, will take longer than six weeks. The defense

case, involving five defendants, will take additional time.

       A trial with the five SubCo defendants will involve five basic factual clusters:

       (a)     Admissions applications that Rick Singer submitted to USC with Donna Heinel’s

               involvement, and to Georgetown;

       (b)     Johnny Wilson’s USC application with the involvement of the USC water polo

               coach (but not Heinel), his water polo and academic credentials in high school, and

               his membership on the USC water polo team;

       (c)     The Government’s claim that defendant John Wilson committed additional crimes

               with respect to his discussions with Rick Singer about using the “side door” to

               support his daughters’ applications;

       (d)     The Wilson tax count and affirmative defense case, which involves the testimony

               of at least two tax preparers, one bookkeeper, an IRS summary witness, and several

               likely defense witnesses; and
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         (e)      The SAT testing issues alleged against defendant Marci Palatella.

         The Government is simply trying to prove too many different things in one trial. By

loading up the first trial, the Government has both increased the trial’s length and created a risk of

reversible error.

         What makes the joint trial of this case even more complicated and time consuming is that

each defendant’s dealings with Singer, USC, etc., is wholly independent of every other

defendant’s. Every communication that a defendant had with Singer, Singer’s employees, or the

universities only relates to that individual defendant. To the extent there are taped telephone calls

with defendants, each defendant will have a unique set of tapes that do not involve the other

defendants. The conspiracy alleged by the Government is truly a hub and spoke affair – and it is

100% rimless. Each defense counsel will have to conduct their own independent examinations.

As a result, there will be far less overlap than in a case with a central event, i.e., a common drug

deal or financial fraud.

         Time limits on the defense case would raise severe Constitutional problems, because there

is such limited overlap among the defendants’ defenses. Furthermore, “allocating” time with

Wilson in the case will present serious issues of equity among the defendants. The trial of Wilson’s

tax case and his likely defense case will consume at least four to seven days of trial and will not

be relevant to the other defendants.1 He therefore will require substantially more time to defend

against the multi-pronged Government prosecution than will his co-defendants.

         Any defendant who chooses to put on a defense case will put on witnesses unique to that

defendant. Furthermore, their dealings with Singer will be wholly independent. In short, the trial



1In Wilson’s Consolidated Memorandum of Law in Support of his Motions to Sever, to Dismiss, and to Strike (Dkt. No. 995),
Wilson provided explicit lists of witnesses and topics to show the good faith basis for severance based on trial management
concerns.


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will have five separate defense cases with no overlap or efficiencies. It would violate the

defendants’ basic Constitutional rights to put any limit on a defense case.

       Thus, Wilson respectfully suggests that the Court reconsider Wilson’s prior Motion for

Severance (see Dkt. Nos. 992, 995, 1202). In addition to being inefficient, a joint trial would cause

incurable prejudice to Wilson. A joint trial would involve countless arguments and evidence on

issues related to the conduct of Donna Heinel, which are irrelevant and highly prejudicial to

Wilson.

       Furthermore, severing Wilson will greatly simplify the jury instructions and jury

deliberations. The Government has indicted all five of the SubCo defendants on three conspiracy

charges, Counts 1, 2, and 3. It has also indicted Wilson, and no other trial defendants, on six

additional Counts, including a tax charge, substantive wire frauds, and Federal program bribes.

Severing Wilson will reduce the trial to simply the core Counts: 1, 2, and 3.

       A short while ago, Wilson’s counsel had a trial in this Courthouse that took 14 weeks

through verdict. Mega-trials are not the best use of limited court resources. Based upon that

experience and other reasons, the undersigned believes severing Wilson from the September 2021

trial is the best option to simplify and shorten the September 2021 trial. Defendants Mr. Gamal

Abdelaziz and Dr. Homayoun Zadeh assent to the request for severance.



 Dated: June 17, 2021                                Respectfully submitted,

                                                     Counsel to John Wilson,

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                              CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was filed electronically on June 17, 2021, and
thereby delivered by electronic means to all registered participants as identified on the Notice
of Electronic Filing.


                                                             /s/ Michael Kendall
                                                             Michael Kendall




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